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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-01640-RMR-NYW

  DANIEL P. RICHARDS,

         Plaintiff,

  v.

  LOCKHEED MARTIN CORPORATION, d/b/a LOCKHEED MARTIN SPACE,

         Defendant.

                                          MINUTE ORDER

  Magistrate Judge Nina Y. Wang

          IT IS ORDERED that a Status Conference is set for September 14, 2022, at 9:30 a.m., in
  Courtroom A-502, 5th Floor, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado. Please remember that anyone seeking entry into the Alfred A. Arraj United States
  Courthouse will be required to show valid photo identification. See D.C.COLO.LCivR 83.2(b).
  The parties need not comply with the requirements of Fed. R. Civ. P. 16 and D.C.COLO.LR 16.2.
  The purpose of the initial conference is to consider the nature and status of the case, the timing for
  filing of any motions, and what discovery, if any, will be needed.

         IT IS FURTHER ORDERED that a copy of this Minute Order shall be sent to:

                 Daniel P. Richards
                 3 Olive Drive
                 Apt 2
                 Cathlamet, WA 98612

  DATED: July 14, 2022
